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 4                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 5                                   AT SEATTLE

 6      SCOTT and SHANNON RANEY,

 7                          Plaintiffs,
                                                      C14-1937 TSZ
 8         v.
                                                      ORDER
 9      GREEN TREE SERVICING LLC,

10                          Defendant.

11         Counsel having telephonically advised the Court that this matter has been
12 resolved, NOW, THEREFORE, IT IS ORDERED as follows:

13         (1)    Plaintiffs’ counsel is DIRECTED to contact the Court’s Financial Specialist
14 SueLynn Vazquez at (206) 370-8417 to provide social security numbers for Scott and

15 Shannon Raney;

16         (2)    The Clerk is DIRECTED to draw a check on the funds deposited in the
17 Registry of the Court in the principal amount of $16,526.77, plus all accrued interest,

18 minus any statutory users fees, made payable to Scott and Shannon Raney, and to mail

19 such check to 22412 15th Place West, Bothell, Washington 98021;

20         (3)    The Order entered January 25, 2016, docket no. 17, enjoining trustee’s sale
21 and requiring Scott and Shannon Raney to pay $1,271.29 to the Clerk of the Court each

22 month, is hereby VACATED;

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     ORDER - 1
 1         (4)    The trial date of April 24, 2017, the pretrial conference set for April 14,

 2 2017, and all remaining deadlines are STRICKEN;

 3         (5)    The pending cross-motions for summary judgment, docket nos. 25 and 28,

 4 and the pending motions in limine, docket no. 39, are STRICKEN as moot; and

 5         (6)    This case is hereby DISMISSED with prejudice and without costs, but in

 6 the event settlement is not perfected, any party may move to reopen and trial will be

 7 scheduled, provided such motion is filed within 90 days of the date of this Order.

 8         IT IS SO ORDERED.

 9         The Clerk is further directed to send a copy of this Order to all counsel of record

10 and to CLOSE this case.

11         Dated this 13th day of March, 2017.

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                                                      A
                                                      Thomas S. Zilly
                                                      United States District Judge
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     ORDER - 2
